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    8                      UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10
   11   In re: KIA HYUNDAI VEHICLE          Case No. 8:22-ML-3052-JVS(KESx)
        THEFT MARKETING, SALES
   12   PRACTICES, AND PRODUCTS             The Honorable James V. Selna
        LIABILITY LITIGATION
   13                                       ORDER No. 4: IMPLEMENTING
   14                                       JOINT CASE MANAGEMENT
                                            STATEMENT
   15
   16                                       Date: March 13, 2023
                                            Time: 8:00 a.m.
   17   This document relates to:
                                            Place: 411 W. Fourth Street,
   18   ALL CASES                                  Santa Ana, CA 92701
                                                   Court Room 10C
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         Case Management Order
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    1         Before the Court is the Joint Case Management Statement filed pursuant to
    2 Order No. 2: Adoption of Organization Plan and Appointment of Counsel (the
    3 “Order”). Pursuant to the Order, “the Leadership Committee and Kia/Hyundai filed
    4 a proposed order implementing the report.” Having considered the Joint Case
    5 Management Statement, the parties’ arguments and alternative proposals in the case
    6 of disputes, and the other records and files in this case, and good cause appearing:
    7         The Court hereby APPROVES the proposed schedule and ORDERS as
    8 follows:
    9
   10 A. Pretrial Consolidation and Coordination
   11         1.    Any related or “tag-along” actions that have become a part of this
   12 proceeding by virtue of being instituted in, removed to, reassigned to, and/or
   13 transferred to this Court (including, without limitation, cases transferred pursuant
   14 to the Local Rules, 28 U.S.C. § 1404(a), or 28 U.S.C. § 1407) will automatically be
   15 consolidated or coordinated with this proceeding without the necessity of future
   16 motions or orders.
   17         2.    This Order is without prejudice to the right of any party to argue for or
   18 against consolidation or coordination for purposes of trial, and shall not make any
   19 entity a party to any action in which the entity has not been named, served, and/or
   20 added in accordance with the Federal Rules of Civil Procedure (the “Rules”). The
   21 terms of this Order, previous orders, and subsequent orders, unless specified
   22 otherwise, shall apply automatically to all consolidated or coordinated cases,
   23 including cases that later become a part of this proceeding. Should parties in any
   24 subsequently filed or transferred action wish to object to the terms of this Order,
   25 they must do so within twenty (20) days of the receipt of this Order from the
   26 Leadership Committee.
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    1 B. Consolidated Amended Consumer Class Action Complaint
    2          1.    Plaintiffs shall file their Consolidated Amended Consumer Class
    3 Action Complaint (the “Consolidated Complaint”) on or before April 10, 2023. The
    4 Consolidated Complaint shall synthesize the facts, class definitions, and causes of
    5 action alleged in the actions constituting this MDL.
    6          2.    Coordination with State Actions and Other Actions
    7          The Court hereby VACATES any orders affirmatively setting any deadlines
    8 for governmental entity actions, including but not limited to any deadlines set by
    9 the Order for a consolidated government entities complaint and briefing stipulation
   10 or for any Rule 12 motion.         Any deadlines shall be reset if and when any
   11 governmental entity action is transferred to the MDL and as additional
   12 governmental actions are filed directly in this District.
   13 C. Rule 12 Motion to Dismiss Briefing Schedule
   14          1.    In their Rule 12 Motion to Dismiss the Consolidated Complaint,
   15 Defendants shall brief the law of six (6) representative states. Plaintiffs shall select
   16 three (3) states and Defendants shall select three (3) states. Plaintiffs shall provide
   17 Defendants with Plaintiffs’ selection of three (3) states on or before April 12, 2023.
   18 Defendants shall file their Rule 12 Motion to Dismiss on or before May 1, 2023.
   19 Defendants shall have fifty (50) pages for their opening brief.
   20          2.    Plaintiffs shall respond to that Motion to Dismiss on or before May 30,
   21 2023. Plaintiffs shall have fifty (50) pages for their responsive brief.
   22          3.    Defendants shall reply in support of their Motion to Dismiss on or
   23 before June 12, 2023. Defendants shall have twenty-five (25) pages for their reply
   24 brief.
   25          4.    The Court shall hear oral argument thereafter—if the schedule allows,
   26 in conjunction with a monthly status conference.
   27          5.    No other motions to dismiss, answers, or other responses shall be
   28 required unless and until the Court orders otherwise. Defendants reserve their rights

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    1 to move to dismiss as to the remaining states and Plaintiffs reserve their rights to
    2 seek leave to amend. Any pending motion is a single action is hereby stayed
    3         6.    Within two (2) weeks of the Court’s decision on Defendants’ Rule 12
    4 Motion to Dismiss on the representative states, the parties shall meet and confer and
    5 Plaintiffs shall inform Defendants of Plaintiffs’ decision to seek to amend the
    6 Consolidated Complaint.        In the event that Plaintiffs do not amend their
    7 Consolidated Complaint, Defendants will file any additional motions to dismiss
    8 four (4) weeks thereafter. The Court shall set a briefing schedule similar to that set
    9 forth above after considering any suggestions from the parties.
   10 D. Motion for Class Certification Briefing Schedule
   11         1.    Plaintiffs shall move for class certification and provide any expert
   12 reports related to class certification on or before May 19, 2024, but no earlier than
   13 six (6) months after the Court completes ruling on any and all Rule 12 Motions to
   14 Dismiss.
   15         2.    Defendants shall respond and provide any expert reports related to
   16 class certification on or before July 21, 2024.
   17         3.    Plaintiffs shall reply in support of their Motion for Class Certification
   18 and provide any rebuttal expert reports related to class certification on or before
   19 August 18, 2024.
   20         4.    The Court shall hear oral argument thereafter.
   21 E.      Dispositive Motion Briefing Schedule
   22         1.    Any dispositive motions shall be filed six (6) months after the Court’s
   23 decision on the Motion for Class Certification to allow for notice and opt outs before
   24 any such motions are filed.
   25         2.    Responses to those dispositive motions shall be filed six (6) weeks
   26 thereafter.
   27         3.    Replies in support of those dispositive motions shall be filed four (4)
   28 weeks thereafter.

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    1         4.    The Court shall hear oral argument thereafter.
    2 F.      Initial Disclosures
    3         1.    The parties shall exchange initial disclosures as provided for under
    4 Rule 26(a)(1) on or before April 14, 2023. The exchange will ensure the Parties’
    5 mutual access to basic foundational information without delay and with minimal
    6 burden.
    7 G.      Discovery
    8         1.    Discovery is stayed except as follows:
    9               Plaintiffs may pursue structural discovery concerning the organization
   10               of defendants, the identification of custodians of records for specific
   11               topics, and similar issues through focused requests for production
   12               and/or Rule 30(b)(6) depositions.
   13         2.    In the early phases, discovery should be conducted with a focus on
   14 class discovery.
   15         3.    Class discovery shall be completed on or before May 1, 2024.
   16         4.    Fact discovery shall be completed on or before August 30, 2024.
   17         5.    As outlined above, Plaintiffs shall provide any expert reports related
   18 to class certification on or before May 19, 2024, but no earlier than six (6) months
   19 after the Court completes ruling on any and all Rule 12 Motions to Dismiss.
   20         6.    Defendants shall provide any expert reports related to class
   21 certification on or before July 21, 2024.
   22         7.    Plaintiffs shall provide any rebuttal expert reports related to class
   23 certification on or before August 18, 2024.
   24         8.    The Court shall set a schedule for any Rule 26(a)(2) liability expert
   25 disclosures and expert reports following its decision on Plaintiffs’ Motion for Class
   26 Certification.
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